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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 11, 2021

UNITED STATES OF AMERICA :  CRIMINALNO. |*,2\- lp
v. : MAGISTRATE NO. 21-MJ-025
DOUGLAS AUSTIN JENSEN, : VIOLATIONS:
> 180.8.C. § 231(a)()
Defendant. : (Civil Disorder)

18 U.S.C. § 111(a)Q)

(Assaulting, Resisting, or Impeding
Certain Officers or Employees)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building)

40 U.S.C. § 5104(e)(2)(A)

(Violent Entry and Disorderly Conduct in
a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in a
Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, in the District of Columbia, DOUGLAS AUSTIN JENSEN,
committed, and attempted to commit, an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his official duties incident to

and during the commission of a civil disorder, and the civil disorder adversely conduct and
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performance of a federally protected function, namely, the certification of the Electoral College of
the 2020 Presidential Election by a Joint session of Congress.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, in the District of Columbia, DOUGLAS AUSTIN JENSEN,
did unlawfully, knowingly, and intentionally forcibly assault, resist, oppose, impede, intimidate,
or interfere with United States Capitol Police Officer Eugene Goodman, a person designated in
section 1114 of Title 18, United States Code, while Officer Goodman was engaged in or on account
of the performance of his official duties.

(Assaulting, Resisting, or Impeding Certain Officers or Employees, in violation of
Title 18, United States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, DOUGLAS AUSTIN JENSEN,
did knowingly enter and remain in the United States Capitol, a restricted building, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building, in violation of Title 18, United States
Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, DOUGLAS AUSTIN JENSEN,
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engaged in disorderly and disruptive conduct in and within such proximity to,
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the United States Capitol, a restricted building, when and so that such conduct did in fact impede

and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, DOUGLAS AUSTIN JENSEN,

willfully and knowingly entered or remained on the floor of a House of Congress or in any

cloakroom or lobby adjacent to that floor, without authorization to do so.

(Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(A))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, DOUGLAS AUSTIN JENSEN,
willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

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FOREPERSON.

Attomey of the United States in -
and for the District of Columbia.
